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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

RUSS IVY,                                             )
                                                      )
                       Plaintiff,                     )
                                                      )
                       v.                             )       Case No.
                                                      )
JADE TRAN; XL REI, LLC; DOES 1-10                     )
                                                      )
                       Defendants.                    )

                                          COMPLAINT

       COMES NOW Plaintiff, Russ Ivy, by and through his undersigned counsel, to file this

Complaint against Defendants Jade Tran and XL REI, LLC. In support, he states the following:

                                        A. INTRODUCTION

       1.       In Louisiana, landlords are required to follow the legal eviction process if they

decide to terminate a lease. But Russ Ivy’s landlord ignored her legal obligations and took

matters into her own hands with a pattern of threats and harassment, culminating in one incident

where she pounded on his door with a broom and threw a satellite dish through his window.

       2.       On August 1st, 2019, Russ Ivy signed a lease to rent the property at 56341 Dock

Marinoff Road in Bogalusa, Louisiana, from Jade Tran and XL REI, LLC. The lease was

predicated on a rent-to-own agreement, which was incorporated into the lease.

       3.       Mr. Ivy lived at the property undisturbed until April, 2020, when a man he had

never seen showed up to change his locks. Mr. Ivy told the man that he was the tenant, and asked

him to leave.

       4.       On April 7, 2020, law enforcement knocked on his door and told Mr. Ivy that they

had been contacted by the landlord and that he should vacate the premises.




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          5.      When Mr. Ivy explained that he never received an eviction notice, the officer

handed him a notice dated March 25, 2020, and told him “now you have.”

          6.      Mr. Ivy did not receive a proper notice until April 9, 2020, via FedEx.

          7.      The next day, the same law enforcement officers arrived and, again, told Mr. Ivy

to leave. But when Mr. Ivy showed the April 9, 2020, FedEx receipt to the officers, they called

Ms. Tran and explained that they did not have legal authority to make Mr. Ivy leave at that time.

          8.      Ms. Tran protested, claiming that she had already rented the property to someone

else and that Mr. Ivy had to vacate the property so the new tenant could move in.

          9.      Ms. Tran and her as-yet unidentified assistants then started a campaign of

intimidation in an apparent effort to force Mr. Ivy from the property.

          10.     This included threatening Mr. Ivy that she was on her way to the property with a

U-Haul truck, and ultimately running at Mr. Ivy with a broom, banging on his door while yelling

at him to leave, and breaking his window with a satellite dish, prompting Mr. Ivy to call 911 out

of fear for his life.

          11.     Making matters worse, Ms. Tran’s attempted illegal eviction happened in the

midst of the COVID-19 pandemic while Mr. Ivy was self-quarantined upon the advice of a

doctor. Louisiana Governor John Bel Edwards’ stay-at-home order was active at all times

relevant to this Complaint.1

          12.     For these acts and those described herein, Defendants are liable for the illegal

self-help eviction of Russ Ivy, fraud, trespassing, intentional infliction of emotional distress,

breach of warranty, breach of contract, assault and battery, and violations of the Louisiana Unfair

Trade Practices Act.



1
    Governor John Bel Edwards, Proclamation Number 33 JBE 2020.

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                                                     B. PARTIES

                                                     Petitioner

           13.    Russ Ivy is a person of full age of majority residing in Washington Parish,

Louisiana, which is located within the Eastern District of Louisiana.

                                                    Defendants

           14.    Jade Tran is a person of full age of majority residing in in Austin, Texas, but

doing business in Washington Parish, Louisiana, which is located within the Eastern District of

Louisiana.

           15.    XL REI, LLC is a Non-Louisiana Limited Liability Company authorized to do

business in the State of Louisiana. Its principal business office is at 700 Lavaca, Ste. 1400,

Austin, Texas. Its registered office in Louisiana is 201 Rue Boulevard, Ste. 202, Lafayette,

Louisiana 70508 and its principal business establishment in Louisiana is 56341 Dock Marinoff

Road, Bogalusa, Louisiana, 70427. Jade Tran is the listed manager and the company’s only listed

officer.

           16.    Doe Defendants 1-10 are as-yet unidentified individuals who are liable for the

actions stated herein.

                                       C. JURISDICTION AND VENUE

           17.    Jurisdiction is proper in the Eastern District of Louisiana under 28 U.S.C. § 1332

because the amount in controversy exceeds $75,000.002 and the dispute is between citizens of


2
  Plaintiff estimates that his claims are likely to exceed $75,000.00. While awards for intentional infliction of
emotional distress claims vary, Plaintiffs’ particular claims include threats to his safety within his own home, made
more severe due to health complications that require him to stay in the home, specifically a respiratory illness
requiring a non-mobile machine and because, during the incidents at issue, Plaintiff was self-quarantined on the
advice of his doctor under suspicion of having contracted COVID-19. The trespass claim, alone, was valued by an
Eastern District of Louisiana jury at $15,000.00 within the context of a landlord-tenant relationship, but without the
extreme factors and threats of violence present here. Patz v. Sureway Supermarket, E.D. La., 17-cv-03465, R. Doc.
189. Further, the Louisiana Unfair Trade Practices Act, in addition to regular damages, includes an award for
reasonable attorney’s fees and costs. La. R.S. § 51:1409. Attorney’s fees are considered in determining the amount

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different states. The Eastern District of Louisiana has supplemental jurisdiction over state law

claims pursuant to 28 U.S.C. § 1367.

         18.      Venue is proper in the Eastern District of Louisiana under 28 U.S.C. § 1391(b)(2).

A substantial part of the events giving rise to the claim occurred in Washington Parish,

Louisiana, situated within the Eastern District of Louisiana.

                                         D. STATEMENT OF FACTS

         19.      Plaintiff Russ Ivy has rented the property at 56341 Dock Marinoff Road in

Bogalusa, Louisiana (“Property”), since March, 2019, initially from Kenneth and Julie Miller.

         20.      Soon after beginning the lease, Mr. Ivy approached his landlord about the

possibility of renting-to-own, but his landlord was not interested in such an arrangement.

         21.      Mr. Ivy then learned that Defendant XL REI, LLC (“REI”)’s business model

included buying homes from landlords and then entering into a rent-to-own agreement with

interested tenants and REI agreed to do so for the Property.

         22.      However, when REI learned that it was not authorized as an out-of-state business

to purchase the Property, Defendant Jade Tran, REI’s manager, bought the property under her

own name, finalizing the deal in July, 2019.

         23.      Although the Property was purchased by Ms. Tran, she operated it as a regular

REI property, even listing the Property as the “principal business address” for REI’s Louisiana

operations and communicating with Mr. Ivy on REI letterhead.

         24.      Mr. Ivy then signed a lease agreement with REI, signed by Ms. Tran, beginning in

August, 2019.



of controversy when those fees are awarded by statute. See, e.g., Graham v. Henegar, 640 F.2d 732, 736 (5th Cir.
1981). Finally, the lease agreement was predicated on Plaintiffs’ desire to purchase the property for $80,000.00,
which is explicitly stated in the lease which further states that his security deposit and rental payments would be
credited towards that purchase price in the event it is exercised as intended.

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          25.   The lease agreement included the rent-to-own provision, stating that Mr. Ivy

could, in his sole discretion, purchase the Property for $80,000.00, plus interest. His rent

payments and security deposit would be credited to that purchase, should it be exercised.

          26.   Mr. Ivy continued to rent the property from Ms. Tran undisturbed until April 5 or

6, 2020 when a man that Mr. Ivy did not recognize and is yet unidentified showed up to change

the locks. The man left without doing so after Mr. Ivy identified himself as the tenant.

          27.   On April 7, 2020, two law enforcement officers showed up at the Property and

told Mr. Ivy he was being evicted and had to vacate.

          28.   Mr. Ivy explained that he had not received any legal notice of the eviction, to

which the officer handed him a notice dated March 25, 2020, and stated “now you have.”

          29.   On April 9, 2020, Mr. Ivy received proper legal notice of eviction via a FedEx

package delivered to his home. The notice was provided on REI letterhead.

          30.   The next day, the same law enforcement officers returned to the Property and told

Mr. Ivy that he had to leave. Mr. Ivy responded by showing the officers the FedEx receipt dated

April 9, 2020, which meant that he did not have to vacate the property that day. The officers

agreed.

          31.   The officers, in Mr. Ivy’s presence, then called Ms. Tran and the officers

explained to her that they did not have legal authority to remove Mr. Ivy from the property

considering the service timeline.

          32.   Ms. Tran complained and again urged the officers to remove Mr. Ivy, claiming

that she had already signed a lease with a new tenant. The officers reiterated that they could not

legally removed Mr. Ivy.




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        33.     But Ms. Tran did not accept “no” for an answer from the legal authorities.

Instead, she and various Doe Defendants began a campaign of harassment against Mr. Ivy in an

apparent attempt to get him to leave without the legal eviction process.

        34.     Lt. Chris Hickman arrived at the Property and told Ms. Tran that she had no legal

authority to force Mr. Ivy to leave as the legal process was still ongoing. Despite this, Ms. Tran

still attempted to drive a U-Haul to the Property until Lt. Hickman was able to prevent her from

following through.

        35.     On April 14, 2020, Ms. Tran returned. This time, she ran at Mr. Ivy with a broom

and threatened him. Mr. Ivy rushed inside and locked the door, but Ms. Tran began beating the

door with the broom and yelling at Mr. Ivy.

        36.     Mr. Ivy had no way to protect himself and feared for his life, so he called 911.

        37.     While speaking to dispatch and waiting for law enforcement to arrive, Ms. Tran

continued pounding on the door and shattered multiple windows, one of which she broke by

smashing it with a satellite dish that was on the porch. Mr. Ivy suffered cuts from the glass.

        38.     Luckily, Ms. Tran left without causing any further damage to the Property or

injury to Mr. Ivy, but the harassment is ongoing and Mr. Ivy continues to fear for his life.

        39.     Making matters worse, Mr. Ivy is asthmatic and suffers from chronic obstructive

pulmonary disease (COPD) which requires that he has access to a nebulizer. The machine

requires electricity and a calm space to operate, so Mr. Ivy cannot simply leave the Property and

find a safe place to stay as the stress of a forced exit could trigger an attack.

        40.     Further, Mr. Ivy was self-quarantined during these events on the advice of his

doctor due to a suspicion that he had contracted COVID-19, making it even more dangerous for

Mr. Ivy to leave the Property.



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        41.      Because he cannot leave the property without a safe destination, his fear of being

attacked again is ongoing.

                                          E. CAUSES OF ACTION

        42.      Petitioner asserts the following Causes of Action, plead in the alternative where

appropriate, against Defendants.

                                           I.    Self-Help Eviction
                                                 All Defendants

        43.      Plaintiff realleges and incorporates each and every foregoing paragraph.

        44.      Under Louisiana state law, “[i]f a lessor chooses to cancel the lease and terminate

the lessee’s right of occupancy, the lessor must follow the statutory eviction procedures set out in

LA.CODE CIV.P. art. 4701, et seq.”3 Landlords are prohibited from disturbing a tenant’s

possession of the property in any way without following the judicial process.4

        45.      The only circumstance where a landlord may attempt to reclaim the property

without a judgement of possession is when the property is clearly abandoned.5

        46.      The prohibition against self-help evictions extends to circumstances where there

is cause for a lawful eviction.6 Even if a landlord obtains a lawful judgment after-the-fact, that

does retroactively justify the attempts at self-help eviction – in other words, the landlord is liable

for self-help eviction even if they successfully following the legal process after the self-help

eviction.7




3
  Patz v. Sureway Supermarket, E.D. La., 17-cv-03465, R. Doc. 148 at 6.
4
  Weber v. McMilian, 285 So 2d 349, 351 (La. App. 4 Cir. 1973), writ denied 288 So.2d 357 (La. 1974).
5
  Buneal of New Orleans, Inc. v. Cigali, 348 So.2d 993 (La. App. 4 Cir. 1977).
6
  Pelleteri v. Caspian Group, 851 So.2d 1230 (La. App. 4 Cir. 2003).
7
  Id.

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        47.      Self-help evictions are considered bad-faith violations of an obligation, which

subjects the landlord to both foreseeable and unforeseeable damages.8 These damages may

include, but are not limited to, mental anguish, humiliation, embarrassment, inconvenience, loss

or detention of personal property, physical suffering, or loss of use of the property.9 Wrongful

seizure also subjects the landlord to attorney’s fees.10

        48.      Here, Defendants attempted to force Mr. Ivy out of the Property without

following the legal process by threatening him, calling on law enforcement to forcibly remove

him, and ultimately trying to force entry into his home while he was inside by pounding on the

front door and breaking windows, causing Mr. Ivy to fear for his life. He is still afraid that they

could come back at any time.

        49.      Defendants apparently knew that some process was warranted, as they sent Mr.

Ivy notices to vacate. But the first notice was improperly delivered. The second notice was

properly delivered, but Defendants refused to wait the five days required by their own notice

before calling law enforcement on Mr. Ivy and trying to force their way into his home, as well as

other harassment.

        50.      Defendants also knew that the property was not abandoned considering Mr. Ivy

answered the door on April 5, 2020, when they came to change the locks and have had

continuous communications with Mr. Ivy and law enforcement throughout this process.

        51.      If Defendants had properly served Mr. Ivy with a notice to vacate and simply

followed the judicial process, this issue would likely have been resolved without incident. But




8
  La. Civ. Code art. 1997; Smith v. Shirley, 815 So.2d 980 (La. App. 3 Cir. 2002) writ denied 816 So.2d 308 (La.
2002).
9
  See e.g., Kite v. Gus Kaplan, Inc., 708 So.2d 473 (La. App. 3 Cir. 1998); Gennings v. Newton, 567 So.2d 637 (La.
App. 4 Cir. 1990); Navratil v. Smart, 400 So.2d 268 (La. App. 1 Cir. 1981), writ denied 405 So.2d 320 (La.1981).
10
   La. Code Civ. Proc. art. 3506; Horacek v. Watson, 86 So.3d 766 (La. App. 3 Cir. 2012).

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Defendants took matters into their own hands by harassing Mr. Ivy in an apparent attempt to

force him off of the property without judicial process.

                                                 II.   Trespass
                                                 All Defendants

        52.      Plaintiff realleges and incorporates each and every foregoing paragraph.

        53.      “When a lessor takes the law in his hands by unlawfully dispossessing a tenant, he

commits a trespass and is liable for general damages.”11

        54.      For the reasons described above, Defendants used self-help while attempting to

evict Mr. Ivy. Therefore, they are also liable for trespass.12

        55.      Defendants committed further specific acts of trespass when they arrived on the

property unannounced on multiple occasions, especially when Ms. Tran attempted to break down

Mr. Ivy’s front door and threw a satellite dish at the window.

                          III.     Intentional Infliction of Emotional Distress
                                              All Defendants

        56.      Plaintiff realleges and incorporates each and every foregoing paragraph.

        57.      An individual is liable for intentional infliction of emotional distress when they

engage in “extreme and outrageous” conduct which causes severe emotional distress and “that

the defendant desired to inflict severe emotional distress or knew that severe emotional distress

would be certain or substantially certain to result from his conduct.”13

        58.      Here, Defendants owed a duty to Mr. Ivy as landlord to, among other duties, not

disrupt his peaceable habitation of the Property, but Defendants chose instead to engage in


11
   Fo-Coin Co. v. Drury, 349 So. 2d 382, 384 (La. Ct. App. 1977); Waller & Edmonds v. Cockfield, 111 La. 595, 35
So. 778 (1904); Buchanan v. Daspit, 245 So.2d 506 (La.App.3rd Cir. 1971).
12
   Id.
13
   White v. Monsanto Co., 585 So.2d 1205, 1209 (La. 1991); Covington v. Howard, 146 So. 3d 933, 937 (La. App. 2
Cir.) (“[I]t is now well established in Louisiana jurisprudence that a claim for NIED unaccompanied by physical
injury is viable under La. C.C. art. 2315, which provides, in pertinent part, that ‘[e]very act whatever of man that
causes damages to another obliges him by whose fault it happened to repair it.’”).

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extreme behavior by threatening Mr. Ivy, trespassing on the Property, unnecessarily calling law

enforcement on Mr. Ivy, and attempting to forcibly enter his apartment by trying to knock down

his front door and breaking his window with a satellite dish while Mr. Ivy was inside.

           59.      None of these actions served any legitimate purpose beyond attempting to force

Mr. Ivy from his home through fear and intimidation.

           60.      Mr. Ivy feared for his life during each of these episodes and continues to live in

fear as there is nothing stopping Defendants from trying to break into his home again.

Defendants continue to harass Mr. Ivy by driving slowly past the Property which Mr. Ivy takes

as a threat and a reminder of the real danger he faces from Defendants.

           61.      My. Ivy’s damages are heightened because he suffers from [respiratory issue]

which requires that he has access to [machine name] which is a non-mobile unit that cannot be

easily moved to a new location if he has to quickly leave his home. Mr. Ivy was also self-

quarantined upon advice of his doctor during this time due to fears he was COVID-19 positive.

           62.      Defendants are real estate professionals who are aware of the proper legal process

for eviction and that their self-help methods are certain to cause distress, as they apparently

intended.

                                 IV.   Louisiana Unfair Trade Practices Act
                                               All Defendants

           63.      Plaintiff realleges and incorporates each and every foregoing paragraph.

           64.      The Louisiana Unfair Trade Practices Act (LUTPA) makes it illegal to engage in

unfair or deceptive acts of commerce.14




14
     La. R.S. 51:1401, et seq.

                                                     10
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           65.   LUTPA liability can attach to a wide range of practices that involve “fraud,

misrepresentation, deception, breach of fiduciary duty, or other unethical conduct.”15

           66.   Here, Defendants misrepresented to law enforcement Mr. Ivy’s tenant status and

whether he had been given notice to vacate and used those misrepresentations to harass Mr. Ivy

by having law enforcement unnecessarily show up at his home and ask him to leave the property

on multiple occasions.

           67.   Each time Defendants called law enforcement, Mr. Ivy was put into the

distressing position of having to convince officers on his doorstep that Defendants were not

being forthcoming, or face being evicted.

           68.   Further, to the extent that eviction without legal process is part of their business

practice, Defendants’ actions of circumventing the courts offends public policy.

           69.   LUTPA violations subjects Defendants to treble damages, attorney’s fees, and

costs.16

                                                 V.     Fraud
                                                All Defendants

           70.   Plaintiff realleges and incorporates each and every foregoing paragraph.

           71.   Fraudulent acts are those which are a “misrepresentation or a suppression of the

truth made with the intention either to obtain an unjust advantage for one party or to cause a loss

or inconvenience to the other.”17




15
   Tyler v. Rapid Cash, LLC, 40,656 (La. App. 2 Cir. 5/17/06), 930 So. 2d 1135, 1140, quoting A & W Sheet Metal
Inc. v. Berg Mechanical, Inc., 26,799 (La.App.2d Cir.4/5/95), 653 So.2d 15.
16
   La. R.S. 51:1409.
17
   La. Civil Code art. 1953.

                                                       11
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           72.         Here, Defendants committed fraud when they misrepresented Mr. Ivy’s tenant

status to law enforcement in an apparent effort to force him off the property instead of obtaining

a legal eviction.

                 VI.      Breach of Warranty of Peaceful Possession / Breach of Contract
                                             All Defendants

           73.         Plaintiff realleges and incorporates each and every foregoing paragraph.

           74.         Under Louisiana law, a lessor has a duty to “protect the lessee's peaceful

possession for the duration of the lease.”18 A “lessor warrants the lessee's peaceful possession of

the leased thing against any disturbance caused by a person who asserts ownership, or right to

possession of, or any other right in the thing.”19

           75.         Here, Defendants violated the warranty of peaceful possession when they engaged

in a campaign of harassment and attempted to force Mr. Ivy from his home without adhering to

the proper legal process.

           76.         Defendants also violated Mr. Ivy’s contractual right to peaceful possession.

                                          VII.   Assault and Battery
                                                 All Defendants

           77.         Plaintiff realleges and incorporates each and every foregoing paragraph.

           78.         An assault is an action that puts another person in immediate apprehension of a

non-consensual harmful touching. A battery is the completion of a non-consensual harmful

touching.

           79.         Defendant Tran committed assault and battery against Mr. Ivy when she ran at

him with a broom, attempted to break into his home, and, during that attempt, broke a window

with a satellite dish causing Mr. Ivy to suffer cuts from the broken glass.


18
     La. Civil Code art. 2682.
19
     La. Civil Code art. 2700.

                                                        12
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        80.     Defendant REI is liable for Defendant Tran’s actions under the doctrine of

respondeat superior. Doe Defendants are liable to the extent that they assisted Defendant Tran or

committed further actions that constitute assault and battery.

                                              F. REMEDIES

        81.     Because of the causes of action plead above, Plaintiff seeks the following:

                    a) Compensatory damages;

                    b) Legal costs and attorney’s fees;

                    c) Declaratory relief; and

                    d) Any other remedies equitable under the law.

        82.     Petitioners reserve the right to notice of defect to this pleading and reserve the

right to amend or supplement this Petition after discovery of any additional fact, law, or claim,

the amendment of which to be performed by the filing of any subsequent pleading.

        83.     Petitioners also state any and all other causes of action that may become known

through a trial of this matter on its merits against any and all other parties where are named

herein or which may be added later, and request any and all other damages or remedies which

this Court may deem equitable.

                                            G. CONCLUSION

        WHEREFORE, Petitioners pray that Defendants be served with process of this Petition

for Damages and duly cited to answer same, that after all legal delays and due proceedings are

complete that there be judgment in favor of Petitioners and against Defendants, jointly and in

solido for the full amount of Petitioner’s damages, plus legal interest together with all costs

incurred in this matter, and any other general or equitable relief that the Court deems proper.

Petitioners reserve their right to a trial by jury.


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                                     Respectfully submitted,

                                     /s/ David Lanser
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